 

 

Case 3:00-cv-00488-RWN Document 2. Filed 05/10/00 Page 1 of 23 PagelD 33

IN THE CIRCUIT COURT OF THE FOURTH
JUDICIAL CIRCUIT, IN AND FOR DUVAL
COUNTY, FLORIDA

casenumer 758
DIVISION: DIVISION CV-H

DANIEL M. JOUBERT,
Plaintiff,
vs.

OLD KENT MORTGAGE COMPANY, a
foreign corporation; and MAJESTIC
MORTGAGE COMPANY, a Florida
corporation,

Defendants.

 

COMPLAINT
Plaintiff, DANIEL M. JOUBERT (hereinafter “Joubert”), by and through his undersigned
attomey, brings this suit against OLD KENT MORTGAGE COMPANY, a foreign corporation

(hereinafter “Old Kent”), and MAJESTIC MORTGAGE COMPANY, a Florida corporation

(hereinafter ‘‘Majestic”), and alleges:

GENERAL ALLEGATIONS
1. This is an action at law for damages in excess of $15,000.00.
2. Joubert is a resident of Duval County, Florida.
3. Old Kent is a Michigan corporation doing business in Duval County, Florida.
4. Majestic is a Florida corporation doing business in Duval County, Florida.

 
 

 

~ Case 3:00-cv-00488-RWN Document 2 Filed 05/10/00 Page 2 of 23 PagelD 34

5. On December 29, 1998, Joubert closed on the purchase of a single family residence

he purchased from Maronda Homes which is located at 12622 Ash Harbor Drive, Jacksonville,

Florida, 32224.
6. The closing was at American First Coast Title Service’s office in Duval County.
7.. On information and belief, Plaintiff asserts that Old Kent is and was the mortgage .

lender on his mortgage note and loan, which was a federally related loan.

8. On information and belief, Majestic was the mortgage broker, lender or correspondent
lender for Joubert’s mortgage.

9. Joubert requested that Majestic provide the lowest interest rate for his mortgage loan,
and entered into a fiduciary relationship with Majestic, which relationship was in effect at the date
of closing, to-wit: December 29, 1998.

10. : Joubert’s interest rate on his mortgage loan is 7% with an annual percentage rate of
7.2034%, according to the Truth-in-Lending disclosure received at settlement closing. See Truth-in-
Lending Statement attached as Exhibit “A.”

COUNT I
(Non-Disclosure)
(Chapter 494, Florida Statutes)

11. Joubert realleges Paragraph 1 through 10 as if fully set forth herein.

12. Majestic and Old Kent had a duty to conspicuously and clearly disclose the itemized
charges applicable to Joubert’s settlement. Joubert was never provided with a signed and dated good
faith estimate itemizing these costs as well as all costs, fees, expenses and premiums charged, paid
or financed under the mortgage loan.

13. | Majestic and Old Kent had statutory duties (Chapter 494, Florida Statutes, as to

Majestic and 12 U.S.C. Section 2601, et. seq., as to Old Kent) to Plaintiff to provide full and

-2-
 

Case 3:00-cv-00488-RWN Document 2 Filed 05/10/00 Page 3 of 23 PagelD 35

complete good faith disclosures to Plaintiff with respect to the loan and mortgage transaction and
all monies, fees, charges and premiums paid or payable thereunder at settlement closing, which they

each failed to do.
14. _— Plaintiff is entitled to reasonable attorney’s fees.
WHEREFORE, Joubert demands judgment for damages against Defendants for damages, .
pre-judgment, on liquidated damages, interest, costs, attorney’s fees and a trial by jury on all triable
issues.

COUNT II
(Unjust Enrichment)

15. Joubert realleges Paragraphs 1 through 10 and 25 as if fully set forth herein.

16. Joubert has conferred a benefit on Old Kent and Majestic by paying money to these
Defendants for purported services related to the settlement, as more particularly set forth on HUD-1,
attached as Exhibit “B” and “BB.” (Two different HUD-1 forms were completed. Exhibit “B” is
date stamped December 31, 1998, and Exhibit “BB” has no date stamp on it.)

17. Defendants have accepted and retained the benefits conferred by Joubert by accepting
Joubert’s payments unlawfully by failing to disclose all terms and conditions as well as amounts of
fees and premiums paid out of closing to Majestic and/or Old Kent out of closing.

18. It is inequitable for Defendants to retain the value thereof.

WHEREFORE, Joubert demands judgment against Defendants for damages plus pre-
judgment interest on liquidated damages and costs and request trial by jury on all triable issues.

COUNT Il
(Negligence)

19. Joubert realleges Paragraphs 1 through 10, 16, 17 and 25, as if fully set forth herein.
 

~ Case 3:00-cv-00488-RWN Document 2 Filed 05/10/00 Page 4 of 23 PagelD 36

20. Majestic, while acting as a Florida mortgage broker between Joubert and Old Kent,
the lender, had a duty to disclose, among other information to Plaintiff, all rates, points, fees and
other terms quoted by or on behalf of the lender to Joubert, including monies, fees and premiums
to be paid by or on account of Plaintiff from the lender to the broker.

21. | Majestic failed to disclose, among other things, but not limited to, rates, points, fees, .
premiums and other monies paid by or on behalf of Old Kent to Majestic, or retained by Majestic
and/or Old Kent.

22. Because of Majestic’s failure to disclose the above information to Plaintiff, said
Plaintiff suffered pecuniary losses and has made payments of monies and premiums not previously
disclosed to him as he was unable to determine the true rates, points, fees and other terms of his
mortgage loan, before closing.

23. Plaintiffis required to make mortgage payments of principal and interest in the future
on the Note and Mortgage, attached as Composite Exhibit ‘“C” hereto and will suffer future losses

and damages because of the contractual obligation to pay unjustified and non-disclosed monies to

the mortgagee.

WHEREFORE, Joubert demands judgment for damages against Defendants for damages,
pre-judgment interest on liquidated damages, costs, attorney’s fees and a trial by jury on all triable
issues.

COUNT IV

(Violation of Real Estate
Settlement Procedures Act, 12 U.S.C.

Section 2601, et. seq., and Regulation X)
24. Joubert realleges Paragraphs 1 through 10, 16 and 17 as if fully set forth herein.

 
 

Case 3:00-cv-00488-RWN Document 2 Filed 05/10/00 Page 5 of 23 PagelD 37

25. This Court has jurisdiction has concurrent jurisdiction under 12 U.S.C., Section 2601,
et. seq., and Regulation x, known as the Real Estate Settlement Procedures Act, as amended.

26. Majestic did not provide Joubert with a good faith estimate conspicuously and clearly
disclosing, in writing, among other information required by applicable Federal law governing
federally related mortgage loans on residential property, but not limited to, the applicable rates, -
points, premiums, fees and other terms paid or charged by or on behalf of Old Kent and/or Majestic,
the lender and broker in the closing transaction.

27. | Majestic had a duty to provide Joubert with this good faith estimate under Federal
law, which Plaintiff was likely to incur in connection with the settlement of the mortgage loan at
closing under 12 U.S.C., Section 2604, and Regulation X, Section 3500.2(b).

28. | Majestic had a common law and statutory fiduciary duty to Joubert that it would
secure for him the lowest possible mortgage loan interest rate and all costs and expenses attendant
thereto, thereby inducing him to finance his mortgage through a mortgage lender.

29. Joubert relied upon Majestic’s assertion and this material misrepresentation in
financing his mortgage with Old Kent through Majestic.

30. Joubert was financially damaged through his reliance upon Old Kent’s and Majestic’s

false, misleading or incomplete representations in one or more of the following ways:

A. Failure to provide a good faith estimate of all charges, fees
and premiums to be paid by or on account of Plaintiff at
closing;

B. Failure to secure the lowest possible mortgage interest rate,

including costs, fees and premiums paid by or on account of
Plaintiff to the broker and lender;

C. Failure to comply with the provisions of Regulation X of
R.E.S.P.A., as amended, and applicable to the referenced
closing.

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" Case 3:00-cv-00488-RWN Document 2 Filed 05/10/00 Page 6 of 23 PagelD 38

By the lender paying a “premium” to the broker for the
benefit of those parties based upon broker placing the loan
with said lender, with payment of said premium paid by
Plaintiff, financed into the loan for future payment and the
Plaintiff receiving no service therefrom.

WHEREFORE, Joubert demands judgment for damages against Defendants for damages,

pre-judgment interest on liquidate damages, costs, attorney’s fees and a trial by jury on all triable

TROMBERG & SAFER

[Moni OK in be.

Fred Trombe ore, aie (FBN: 246514)
James A. K: ski, Jr., Esquire (FBN: 852740)

Christopher J. Karpinski, Esquire (FBN: 0041599)
4925 Beach Boulevard

Jacksonville, FL 32207

Telephone: (904) 396-5321

Facsimile: (904) 396-5730

Attorneys for Plaintiff
 

Case 3:00-cv-00488RWN Document 2. Filed 05/10/00 Page 7 of 23 PagelD 39

EXHIBIT "A"
 

Case 3:00-cv-O0xiEtRRW hRUROGNTaNbDENc WHELs GRE Gra haga OF 23 PagelD fo. 12/31/98

Borrow ——_-—_—-—-_ LOAN #: 1212296
DANIEL M JOUBERT MAJESTIC MORTGAGE INC
2699 LEE ROAD. SUITE 101
WINTER PARK, FL 32789

[32622 ASH arsor nohery
8787 SOUTHSIDE BLVD #1916 12622 ASH HARBOR DRIVE
JACKSONVILLE. FL 32256 JACKSONVILLE, FL 32224

 

 

 

itemization of Amount Financed.

 

 

 

 

$ = 116,056.46 Total amount financed $ 116,056.46
THE FIRST PAYMENT FOR YOUR
$ 50.00 Lenders Inspection Fee
5 2.32300 VA Funding Fee VA 30 Year Loan
. ert ‘
$ 23.04 Interia Interest Fm: 5 Nae Oe
$ 2.416.54 Tatal prepaid finance charges $ 2,416.54 WHICH WILL PAY OFF IN 360 PAYMENTS
$ 275.00 Appraisal fee Fi :
; 55.00 Credit Report TS BROKEN DOWN AS FOLLOWS
s 300.00 Hazard Insurance Premtum PRINCIPAL &/OR INTEREST $ 788.20
$ sae (azar insurance reserves
s : nty tax reserves
$- 145-26 sagrecate adjustaent Mortgage Insurance 0.0
$ :
$ 1,173.44 Total amount paid to others Taxes 145.30
Insurance 25.00
, Other 0.00
"TOTAL PAYMENT $ 958.50
‘
LOAN AMOUNT (including financed VA Funding Fee) $  118.473.00
ANNUA NAN Amount Financed Total of Payments
PERCENTAGE CHARGE The amount of credit The amount you will have
provided to you of on paid aller you have made
The coat of your credit ee at Senet you. your behalf, all payments as scheduled.
es a yearly rata . .
7 ,.2034% $ 167,700.46 $ 116,056.46 $ * ‘283,756.92

 

 

 

 

Your Payment Schedule Will Be:

359 payments monthly of $ 788.20 beginning February 1, 1999
1 payment of § 793.12 due on January 1, 2029

 

Security Interest: You are giving a security interest in the property located at
12622 ASH HARBOR ORIVE. JACKSONVILLE. FL 32224.
Late Charge: If payment ts 15 days late. you will be charged 4.0000% of the payment.

Prepayment : If you pay off early. you wil) not have to pay a penalty.
If you pay off early, you will not be entitled to a refund of part of the finance charge.

Assumption: Someone buying your home may, subject to conditions. be allowed to assume the
remainder of the mortgage on the original terms.
This Obligation: will NOT have a demand feature.
Insurance: You may obtain property insurance from anyone you want that is acceptable to Lender.
See your contract documents for any additional information about nonpayment, defauit, any required repayment In {ull before the scheduled date,
Prepayment refunds and penalties.

® means an esiimate

 

1 pve) hereby acknowledge receiving a completed copy of this disclosure. ”'hre-3-+’ 19 g 8

 

DANIEL 4 JOUBERT

ICS/MWRGZI/6/92AASER
 

Case 3:00-cv-00488-RWN Document 2 Filed 05/10/00 Page 9 of 23 PagelD 41

EXHIBIT "B"
 

 

Case 3:00-cv-00488-RWN Document 2 ‘Filed 05/10/00 Page 10 of 23 PagelD 42 ,
A. SETTLEMENT STATEN.NT U.S. Department of Housing *
~ and Urban Development
OMB No. 2502-0265
B. Type of Loan
FHA 2. FmHA oO. ___ Conv. Unins. 6, File Number 7. Loan Number 8. Mortgage insurance Case No.#

4X VA S. __ Conv. Ins.

 

 

 

A7783 1212296 UH-1185558

C. NOTE: This form is furnished to give you a statement of actual settlement costs. Amounts paid to and by the seltlement agent are show:
items marked (P.O.C.) were paid outside the closing; they are shown here for information purposes and are not included in the t

D. Name and Address of Borrower E, Name and Address of Seller F, Name and Address of Lender

DANIEL M. JOUBERT MARONDA HOMES, INC. OF FLORIDA MAJESTIC MORTGAGE, INC.

2699 LEE ROAD SUITE 101

WINTER PARK, FL 32789

 

 

12622 ASH HARBOR DRIVE 11202 ST. JOHNS IND. PKWY
\ JACKSONVILLE, FL 32224 JACKSONVILLE, FL 32246
G. Property Location H. Settlement Agent

AMERICAN FIRST COAST TITLE SERVICES, INC.
12622 ASH HARBOR DRIVE

 

 

 

“ — JACKSONVILLE, FL 32224 Place of Settlement 1. Settlement
2 LOT 78 ASHTON HILLS UNIT TWO 2485 Monument Road, Suite LO Date
Jacksonville, Fl 32225 12/31
DD: 12/31
__ J. SUMMARY OF BORROWER’S TRANSACTION: K. SUMMARY _OF SELLER'S TRANSACTION:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

fc Wer in advance Adjustments for items paid by seller in advan
106. City/town taxes to : 406. City/lown taxes to
7, Cow axes 2/1 fo §2/31 0.24 407. County taxes \2/31_ to 12/31 ¢
108, Assessments to 408. Assessments to
109, 409. a!
149. 410.
Ut 4it.
112. 412,
120. GROSS AMOUNT DUE FROM BORROWER 122,656.51 420, GROSS AMOUNT DUE TO SELLER 116,450
200, Amounts Pald By or In Behalf of Borrower 500. Reductions In Amount Due To Seller
“201, Deposit or eamest money 1,000.00 501. Excess Deposit (see_instructions) 1,000
£02. Principal amount of new foan(s) 118.473.90 502, Settlement charges to seller (line 1400) 761
203. Existing loan(s) taken subject to 503. Existing loan{s) taken subject to
204. : 504, Payoff of first mortgage loan
205. : _505, Payoff of second mortgage loan
206. 506.
207, 507.
208, 508.
_209. $09.
A nts for item Ler Adjustments for items unpaid by sel
210, City/town taxes __to 510. City/lown taxes to
211, County faxes lo 511, County taxes to
212, Assessments. to 512. Assessments to
213. 513
214. $14,
215, 515.
216. 516.
207, : 517.
* 218. 519,
” 2i9, 519,
119,473.00 520. 1ON AM T A 1,761 '

 

, Settlement Agent hereby expressty reserves the right to deposit any amounis c leg for disbursement in an Interest bearing account In a Federally insured instiution and
: erast So earned to Its own account. f Z 5 DO
. ~ }

12-31-1998 at 3:14 PM = RESPA, HB 4305.2 -- REV. HUD-1 (3/86)
Case 3:00-cv-00488:RWN Documertt'2™ Fited 05/10/00°Page 1 vf2s*PabelD 43

L. SETTLEMENT CHARGES: FILE H0.¢ A7783
700, TOTAL SALES/BROKER'S COMMISSIO.. vased on price $ @ =

 

 

 

 

FAut 2

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BORROWER’S SELLEt

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Ohision of ission {line 700) as follows: FUNDS AT FUNDS

701. $ to SETTLEMENT SETTLEA
702. $ to

703. Commission paid at Settlement

704,

900, ITEMS PAYABLE IN CONNECTION WITH LOAN P.0.C. Items

801. Loan Origination Fee %

802, Loan Discount %

603. Appralsal Fee to MAJESTICE MORTGAGE 275.00
804. Credit Report to MAJESTICE MORTGAGE 55.00
605. Final Inspection Fee to JAMES MCMURTY 50.00
606. Mig. Ins. Application Fee to

607. Assumption Fee to

606. BROKER PREMIUM MAJESTIC BY OKMC 1925.19

809. VA FUNDING FEE DEPT OF VETERAN AFFAIRS 2,323.00
610, BROKER PROCESSING FEE MAJESTICE MORTGAGE 2
811. COURIER FEE MAJESTICE MORTGAGE

612. FLOOD CERT OLO KENT MORTGAGE 20,50

, 813,
‘ 64,

815.

600. ITEMS REQUIRED BY LENDER TO BE PAID IN ADVANCE

901, interest from 12/31/98 to _01/01/99 @$ 23.0364 /day 1 Days 23.04
$02. Mortgage Insurance Premium for to

903. Hazard Insurance Premium for ONfrs fo TEACHERS [HSURANCE 300.00
904.

905.
1000, RESERVES DEPOSITED WITH LENDER FOR
1001. Hazerd Insurance 2_mo.@$ 25.00 _f{mo. 75.00
1002. Mortgage Insurance mo.@$ imo.

1003, Clty property taxes * mo.@$ imo.

1004. County property taxes 4 mo.@$ 145.30 /mo. 581.20
1005. Annual Assessments mo@$ imo.

1006. mo.@$ fimo. a!

1007, mo.@$ fo.

1008. Aggregate Credit for Hazard/Flood ins, City/County Prop Taxes, Mortgage ins & Annual Assessments -145.26
1100, TITLE CHARGES

1101. Settlement or closing fee to AFC TITLE SERVICES, INC 25.00
1102, Abstract or tile search to AMERICAN FIRST COAST TITLE 100.00
1103. Title examination lo AFC TITLE SERVICES, INC 25.00
1104, Title Insurance binder to

1105, Document preparation to OLD KENT MORTGAGE 16£
1106. Notary fees to

1107. Attomey’s fees to

(includes above items No: ‘ )
1108. Tale insurance to AFC TITLE SERVICES, INC 813.00 4
{includes above Kems No: )

1109. Lender's coverage $ 118,473.00 ---- 667.50
1110. Owner's coverage $ 116,150.00 150.00 incl 25 Risk Prem

1411, FLORID FORM 9 END. tncl 63.3 Risk Rate to AFC TITLE SER 96.75
1112, ALTA 8.1, 5.1 END. incl 50 Risk Rate to AFC TITLE SERVI 70.00

 

COURIER FEES ROSS

46.50 ; Releases $

Deed $
Deed

fees

. Staie Deed 414.75
1 ble Tax -
1205. NOTICE OF TERMINATION

1200.

 

 

 

 

 

 

 

 

 

1901. Survey to RICHARD A. MILLER & ASSOCIATES 200.005
132. Pest Inspection to TURNER PEST CONTROL 200.008
1303, UNDERWRITING FEE OLO KENT MORTGAGE 225.4
1904. TAX SERVICE FEE TRANSAMERICA 62.1
1905. OVERNIGHT TRANSFER FEE OLO KENT MORTGAGE 32.50
1306.
1907.

2 1308,
1400. TOTAL SETTLEMENT CHAAGES (enter on fines 103 and 502, Sectlons J and K) 6,343.83 761.5

 

1 have
on my account of by me In this transaction. | further certify that | have received a copy a the HUD-1 Settlement Statement,

DARECM, JOUBEAT BuyerBorrower

 

teluly reviewed the HUD-1 Settlement Statement and to the best of my knowledge and belie!, & Is a true and accurate sistement of all receipts and disbursements mat

MAROROK PIU MOL PNEAUX se

. Bay TRT Wet VICE PRESIDENT —_____s

” The HUD-1 Settlement Statement which | have prepared Is @ true and accurate account of this transaction. 1 have caused or will cause the funds to be disbursed m accordanc
jement.

 

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“+ ¥2-31-1898 at 3:14 PM

pEC-9-4 1998

RESPA, HB 4305.2 ~ REV. HUD-1 (3/86)

Date
 

Case 3:00-cv-00488-RWN Document 2 Filed 05/10/00 Page 12 of 23 PagelD 44

EXHIBIT "BB"
 

Case 3:00-cv-00488-RWN Document 2° Filed 05/10/00 Page 13 of 23 PagelD 45 0,

A. SETTLEMENT STATEMANT U.S. Department of Hot._.ng
and Urban Development
OMB No. 2502-0265
-B. Type of Loan
FHA 2. FmHA 3. __ Corw. Unins. 6. Fie Number 7. Loan Number 8. Mortgage insurance Case No.#
4.2 VA 5. ___ Conv. Ins.

 

 

 

 

A7783 1212296 LH- 1185558

C. NOTE: This form is furnished to give you # slatement of actual settlement costs. Amounts paid to and by the settlement agent are shown.
Items marked (P.0.C.) were paid outside the closing; they are shown here for information purposes and are not included in the to

 

O. Name and Address of Borrower E. Name and Address of Seller F. Name and Address of Lender
OANIEL NM. JOQUBERT HARONDA HOMES, THC. OF FLORIDA : MAJESTIC MORTGAGE, INC.
2699 LEE ROAD SUITE 10!
WINTER PARK, FL 32789

12622 ASH HARBOR DRIVE 11202 ST. GOHNS IND. PKWY

 

JACKSONVILLE, FL 32224 JACKSONVILLE, FL 32246
G. Property Location H. Settlement Agent

AMERICAN FIRST COAST TITLE SERVICES, INC.
12622 ASH HARBOR ORIVE

 

 

 

GACKSONVILLE, FL 32224 Place of Settlement |. Settlement
LOT 76 ASHTON HILLS UNIT TWO 2485 Monument Road, Suite 10 f Date
Jacksonville, Fl 32225 12/34
DO: 12/31/
MMARY OF BORROWER’ ANSACTION: K. MMARY OF SELLER'S TRANSA N:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

A nts for it Her In advance A ments tor items paid b lier in advance
106. Citytown taxes to 406. Ciyfown taxes to
107. County taxes 12/31 to 12/31 0.24 407, County taxes 12/31 lo 12/31 0
_108, Assessments fo 408. Assessments to
109. 409.
110. 410.
1, 4it.
112. 412.
120. GROSS AMOUNT DUE FR BORRO! 122,624.01 420. GRO: OUNT DUE TO SELLEA 116,150.
200, Amounts Pald By or In Behalf of Borrower 500. Reductions In Amount Due To Seller
201, Deposit_or eamest money 1,000.00 501. Excess Deposil {see instructions) 1,000.
202. Principal amount of new loan(s) 118,473.00 502. Settlement charges to seller (fine 1400) 761.
203, Existing loan(s} taken subject to 503, Existing foan(s) taken subject to
204, 504. Payotf_of first mortgage loan
_205. 505. Payoff of second mortgage losn
206. -§ 506.
207, 507.
208, 508,
_ 209, 509.
rl { sel er ments for items unpaid Ler
0. jown taxes fo 510. CityMown taxes _to
211, County taxes to 511. County taxes to
212, Assessments to 512. Assessments lo
213. 513.
214. 514.
_215. 515.
216. 516.
207. 517.
_216, 518.
210, 519.
_220, TOTAL PAID BY/FOR BORROWER 119,473.00 . TOTAL REDUCTION AMOUNT DUE SELLER 1 76i.!
00. Cash Al Settlement From _or To Borrower 600, Cash At n From Seller
901. Gross amount due from borrower (ine 120) 122,624.01 601, Gross amount due to seller (fine 420) 116,150.2
302. Less amounts paid by/for borrower {line 220) 119,473.00 602, Less reduction amount due_seller (line 520} 1,761.5
303. CASH FROM BORROWER 3,151.01 609. CASH To SELLER 114,388.7

 

 

 

ent Agent her y expressly reserves the right to deposit any amounts collected for disbursement In an Interest bearing account In a Federally sured insfitutlon and
Set oy cst oo eased Tas ores eccount

 

12-31-1998 at 11:26 AM RESPA, HB 4305.2 - REV. HUD-1 (3/86)
 

  
 

1) 46

PAID FROM PAID FAC
BORROWER'S SELLER
FUNDS AT FUNDS /

 

 

FILE NO.#: A7783
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ier
L SETTLEMENT CHARGES:
700. TOTAL SALES/BROKER'S COMMISSION
Division of commission (line 700) as follows:

 

 

SETTLEMENT SETTLEM!

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

701. $ to

702, $ to

703. Commission paid at Settlement

704,

e00. ITEMS PAYABLE IN CONNECTION WITH LOAN P.0.C. items

801. Loan Origination Fee %

802. Loan Discount %

809. Appratsal Fee to _*_MAJESTICE MORTGAGE 275-007"

804. Credit Report to MAJESTICE MORTGAGE : 5500-0"

805, Final inspection Fee to JAMES MCHURTY 50.000

906. Mtg. Ins. Application Fee to

807. Assumption Fee to wt..y

608. BROKER PREMIUM MAJESTIC BY OKNC { /ises.19 7

809. VA FUNDING FEE DEPT OF VETERAN AFFAIRS WO 7 —3323-005/

G10. BROKER PROCESSING FEE MAJESTICE MORTGAGE __ 27

611. COURIER FEE MAJESTICE MORTGAGE 3

812. FLOOD CERT OLO KEHT MORTGAGE 20.50 20,

813.

814, {

015.

900, ITEMS REQUIREO BY LENDER TO BE PAID IN ADVANCE ]

901. Inferest from 12/31/98 to 01/01/99 @$ 23.0364 /day 1 Days 23.04] 4).

602. Mortgage Insurance Premium for lo

903, Hazard Insurance Premium for ONfrs to TEACHERS INSURANCE T 300.001 WO

904.

905.

1000, RESERVES DEPOSITED WITH LENDEA FOR

1001. Hazard Insurance 3 m0.@$ 25.00 _/mo. 75.00 tf

1002. Mortgage Insurance mo.@$ fo.

1003. City property taxes “m0.@$ imo.

1004. County property taxes 4 m0.@$ 145.30 /mo. 581.20 FF? Fo%

1005. Annual Assessments mo.@$ imo. "

1006. mo.@$ fimo.

1007. mo.@$ /mo.

1008. Aggregate Credit for Hazard/Flood Ins, City/County Prop Taxes, Mortgage Ins & Annual Assessments -145.26

1100. TITLE CHARGES

1101. Settlement or closing fee to AFC THTLE SERVICES, INC 25.00)

1102. Abstract or lite search lo AMERICAN FIRST COAST TITLE 100,003190-

1103. Title examination to AFC TITLE SERVICES, IWC 25.00"

1104. Title insurance binder to

1105. D vt preparation fo OLD KENT MORTGAGE 165

1106. Notary fees to

1107. Attomey's lees to
{includes above tems No:

1108. Title insurance to AFC TITLE SERVICES, IHC 813.00 © /} 4
(includes above items No:

1108. Legder's coverage $ 118,473.00 ---- 667.50

1110. Owner's coverage $ 116,150.00 150.00 inc) 25 Risk Prem

1411, FLORID FORM 9 END. inc) 63.3 Risk Rate to AFC TITLE SERY 96.75

1112, ALTA 8.1, 5.1 END, incl 50 Risk Rate to AFC TITLE SERVI? 70.00

1113, COURIER FEES AFC/FEO EX/BARRY ROSS 75.00

 

 

 

 

 

 

 

 

 

 

 

1200. GOVERNMENT RECORDING AND TRANSFER CHARGES
fees Deed 6.00 ; $ 46.50; Releases $ 10.50
Deed : $

. Stata Deed 813.40 ; $ 414.75

. ible Tax -

. WOTICE OF TERMINATION
1300.
1301. Survey to RICHARO A. MILLER & ASSOCIATES 200.005 COV
1302. Pest Inspection to TURNER PEST CONTROL 200.00 1650 |
1303, UNDERWRITING FEE OLO KENT MORTGAGE 225.
1904, TAX SERVICE FEE TRANSAMERICA 62.
1305.
1306.
1907.
108.
1400, TOTAL SETTLEMENT CHARGES (enter on Snes 103 and 502, Sections J and K) 6,311.33 761.

 

( have carefully reviewed the HUO-1 Settlement Statement and to the best of my knowledge and belief, tt ts a true and accurate statement of alt receipts and disbursemenis m2

 

 

on my account of by me in this Wansaction. | further cartily that | have received a copy of the HUO-1 Settlement Statement.
ef orrower RIXRORDA HOMES, INC. OF FLORIDA se
Buyer Borrower Se

 

The HUD-\ Settlement Statement which { have prepared is a true and accurate account of this wansaction. | have caused or wit cause the funds to be disbursed in accordan
js statement.

 

AMERICAN FIRST COAST TITLE SERWCES, IRC. __""_‘Selifement Agent
12-31-1996 at 11:26 AM

Dat

RESPA, HB 4305.2 — REV. HUD-1 (3/86)
 

Case 3:00-cv-00488-RWN Document 2 Filed 05/10/00 Page 15 of 23 PagelD 47

EXHIBIT "C"
 

Case 3:00-cv-00488-RWN Document 2 Filed 05/10/00 Page 16 of 23 PagelD 48

Prepared by: Judy McGillin

AP# 6QJOUBERT . DAN
LN# 1212296

 

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MORTGAGE

NOTICE: THIS LOAN IS NOT ASSUMABLE WITHOUT THE
APPROVAL OF THE DEPARTMENT OF VETERANS AFFAIRS
OR ITS AUTHORIZED AGENT.

THIS MORTGAGE ("Security Instrument") is given on December 31, 1998 . The mortgagor is
DANIEL M JOUBERT

 

,whose address is

8787 SOUTHSIDE BLVD #1916, JACKSONVILLE, FL 32256

(“Borrower"). This Security Instrument is given to

MAJESTIC MORTGAGE INC

which is organized and existing under the laws of af . and whose
address is 2699 LEE ROAD, SUITE 101, WINTER PARK. FL 32789

("Lender"). Borrower owes Lender the principal sum of

One Hundred Eighteen Thousand Four Hundred Seventy Three and no/100

Dollars (U.S. $118,473.00 ).
This debt is evidenced by Borrower's note dated the same date as this Security Instrument (“Note”), which provides for
monthly payments, with the full debt, if not paid earlier, due and payable on January 1, 2029

This Security Instrument secures to Lender: (a) the repayment of the debt evidenced by the Note, with interest, and all renewals,
extensions and modifications of the Note; (b) the payment of all other sums, with interest, advanced under paragraph 7 to
protect the security of this Security Instrument; and (c) the performance of Borrower’s covenants and agreements under this
Security Instrument and the Note. For this purpose, Borrower does hereby mortgage, grant and convey to Lender the following
described property located in OUVAL County, Florida:
LOT 58, ASHTON HILLS UNIT TWO, ACCORDING TO PLAT THEREOF ‘RECORDED IN PLAT BOOK 52.
PAGES 3. 3A, 3B, 3C AND 3D, OF THE CURRENT PUBLIC RECORDS OF DUVAL COUNTY, FLORIDA.

which has the address of 12622 ASH HARBOR DRIVE, JACKSONVILLE {Street, City].
Florida 32224 [Zip Code) (“Property Address");

FLORIDA-Single Family-FNMA/FHLMC UNIFORM
INSTRUMENT Form 3010 9/90

ZZ, SViFLI (2309) 03 Amended 5/91
VMP MORTGAGE FORMS - 18001521-7291
Page 1 of 6 MW 09/93 04 Writales-_- :
Case 3:00-cv-00488-RWN Document 2 Filed 05/10/00 Page 17 of 23 PagelD 49

TOGETHER WITH all the improvements now or hereafter erected on the property, and all easements, appurtenances, and
fixtures now or hereafter a part of the property. All replacements and additions shall also be covered by this Security
Instrument. All of the foregoing is referred to in this Security Instrument as the “Property.”

BORROWER COVENANTS that Borrower is lawfully seised of the estate hereby conveyed and has the right to mortgage,
grant and convey the Property and that the Property is unencumbered, except for encumbrances of record. Borrower warrants
and will defend generally the title to the Property against all claims and demands, subject to any encumbrances of record.

THIS SECURITY INSTRUMENT combines uniform covenants for national use and non-uniform covenants with limited
variations by jurisdiction to constitute a uniform security instrument covering real property.

UNIFORM COVENANTS. Borrower and Lender covenant and agree as follows:

: 1. Payment of Principal and Interest; Prepayment and Late Charges. Borrower shall promptly pay when due the
principal of and interest on the debt evidenced by the Note and any prepayment and late charges due under the Note.

2. Funds for Taxes and Insurance. Subject to applicable law or to a written waiver by Lender, Borrower shall pay to
Lender on the day monthly payments are due under the Note, uatil the Note is paid in full, a sum (“Funds”) for: (a) yearly taxes
and assessments which may attain priority over this Security Instrument as a lien on the Property; (b) yearly teasehold payments
or ground rents on the Property, if any; (c) yearly hazard or property insurance premiums; (d) yearly flood insurance premiums,
if any; (e) yearly mortgage insurance premiums, if any; and (f) any sums payable by Borrower to Lender, in accordance with
the provisions of paragraph 8, in liey of the payment of mortgage insurance premiums. These items are called “Escrow hems.”
Lender may, at any time, collect and hold Funds in an amount not to exceed the maximum amount a lender for a federally
related mortgage loan may require for Borrower's escrow account under the federal Reat Estate Settlement Procedures Act of
1974 as amended from time to time, 12 U.S.C. Section 2601 ef seg. (“RESPA"), unless another law that applies to the Funds
sets a lesser amount. If so, Lender may, at any time, collect and hold Funds in an amount not to exceed the lesser amount.
Lender may estimate the amount of Funds due on the basis of current data and reasonable estimates of expenditures of future
Escrow Items or otherwise in accordance with applicable law.

The Funds shall be held in an institution whose deposils are insured by a federal agency, instrumentality, or entity
(including Lender, if Lender is such an institution) or in any Federal Home Loan Bank. Lender shalt apply the Funds to pay the
Escrow Items. Lender may not charge Borrower for holding and applying the Funds, annually analyzing the escrow account, or
verifying the Escrow Items, unless Lender pays Borrower interest on the Funds and applicable law permits Lender to make such
a charge. However, Lender may require Borrower to pay a one-time charge for an independent real estate tax reporting service
used by Lender in connection with this loan, unless applicable law provides otherwise. Unless an agreement is made or
applicable law requires interest to be paid, Lender shal) not be required to pay Borrower any interest or earnings on the Funds.
Borrower and Lender may agree in writing, however, that interest shall be paid on the Funds. Lender shall give to Borrower,
without charge, an annual accounting of the Funds, showing credits and debits to the Funds and the purpose for which each
debit to the Funds was made. The Funds are pledged as additional security for all sums secured by this Security Instrument.

If the Funds held by Lender exceed the amounts permitted to be held by applicable law, Lender shall account to Borrower
for the excess Funds in accordance with the requirements of applicable law. If the amount of the Funds held by Lender at any
time is not sufficient to pay the Escrow Items when due, Lender may so notify Borrower in writing, and, in such case Borrower
shall pay to Lender the amount necessary to make up the deficiency. Borrower shall make up the deficiency in no more than
twelve monthly payments, at Lender's sole discretion.

Upon payment in full of all sums secured by this Security Instrument, Lender shall promptly refund to Borrower any
Funds held by Lender. If, under paragraph 21, Lender shall acquire or sell the Property, Lender, prior to the acquisition or sale
of the Property, shall apply any Funds held by Lender at the time of acqui:ition or sale as a credit against the sums secured by
this Security Instrument.

3. Application of Payments. Unless applicable Jaw provides otherwise, all payments received by Lender under paragraphs
1 and 2 shall be applied: first, to any prepayment charges due under the Note; second, 1o amounts payable under paragraph 2;
third, to interest due; fourth, to principal due; and last, to any late charges «tue under the Note.

4, Charges; Liens. Borrower shall pay all taxes, assessments, charges, fines and impositions atuributable to the Property
which may attain priority over this Security Instrument, and leasehold payments or ground rents, if'any. Borrower shall pay
these obligations in the manner provided in‘paragraph 2, or if not paid in that manner, Borrower shall pay them on time directly
to the person owed payment. Borrower shal! promptly furnish to Lender al) notices of amounts to be paid under this paragraph.
If Borrower makes these payments directly, Borrower shall promptly furnish to Lender receipts evidencing the payments.

Borrower shall promptly discharge any lien which has priority over this Security Instrument unless Borrower: (a) agrees in
writing to the payment of the obligation secured by the lien in a manner acceptable to Lender; (b) contests in good faith the lien
by, or defends against enforcement of the lien in, legal proceedings which in the Lender's opinion operate to prevent the

Form 3010 9/90
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Case 3:00-cv-00488-RWN Document 2 Filed 05/10/00 Page 18 of 23 PagelD 50

enforcement of the lien; or (c) secures from the holder of the lien an agreement satisfactory to Lender subordinating the lien to
this Security Instrument. If Lender determines that any part of the Property is subject to a lien which may attain priority over
this Security Instrument, Lender may give Borrower a notice identifying the lien. Borrower shall satisfy the lien or take one or
more of the actions set forth above within 10 days of the giving of notice.

5. Hazard or Property Insurance. Borrower shall keep the improvements now existing or hereafter erected on the
Property insured against loss by fire, hazards included within the term “extended coverage” and any other hazards, including
floods or flooding, for which Lender requires insurance. This insurance shall be maintained in the amounts and for the periods
that Lender requires. The insurance carrier providing the insurance shal! be chosen by Borrower subject to Lender’s approval
which shall not be unreasonably withheld. If Borrower fails to maintain coverage described above, Lender may, at Lender’s
option, obtain coverage to protect Lender's rights in the Property in accordance with paragraph 7.

All insurance policies and renewals shall be acceptable to Lender and shall include a standard mortgage clause. Lender
shall have the right to hold the policies and renewals. If Lender requires, Borrower shall promptly give to Lender all receipts of
paid premiums and renewal notices. In the event of loss, Borrower shall give prompt notice to the insurance carrier and Lender.
Lender may make proof of lass if nat made promptly by Borrower.

Unless Lender and Borrower otherwise agree in writing, insurance proceeds shall be applied to restoration or repair of the
Property damaged, if the restoration or repair is economically feasible and Lender's security is not lessened. If the restoration or
repair is not economically feasible or Lender’s security would be lessened, the insurance proceeds shall be applied to the sums
secured by this Security Instrument, whether or not then due, with any excess paid to Borrower. 1f Borrower abandons the
Property, or does not answer within 30 days a notice from Lender that the insurance carrier has offered to settle a claim, then
Lender may collect the insurance proceeds. Lender may use the proceeds to repair or restore the Property or to pay sums
secured by this Security Instrument, whether or not then due. The 30-day period wilt begin when the notice is given.

Unless Lender and Borrower otherwise agree in writing, any application of proceeds to principal shall not extend or
postpone the due date of the monthly payments referred to in paragraphs | and 2 or change the amount of the payments. If
under paragraph 21 the Property is acquired by Lender, Borrower's right to any insurance policies and proceeds resulting from
damage to the Property prior to the acquisition shall pass to Lender to the extent of the sums secured by this Security Instrument
immediately prior to the acquisition,

6. Occupancy, Preservation, Maintenance and Protection of the Property; Borrower’s Loan Application; Leascholds.
Borrower shall occupy, establish, and use the Property as Borrower’s principal residence within sixty days after the execution of
this Security Instrument and shall continve to occupy the Property as Borrower's principal residence for at least one year after
the date of occupancy, unless Lender otherwise agrees in writing, which consent shall not be unreasonably withheld, or unless
extenuating circumstances exist which are beyond Borrower's control. Borrower shall not destroy, damage or impair the
Property, allow the Property to deteriorate, or commit waste on the Property. Borrower shall be in default if any forfeiture
action or proceeding, whether civil or criminal, is begun that in Lender's good faith judgment could result in forfeiture of the
Property or otherwise materially impair the lien created by this Security Instrument or Lender’s security interest. Borrower may
cure such a default and reinstate, as provided in paragraph 18, by causing the action or proceeding to be dismissed with a ruting
that, in Lender’s good faith determination, precludes forfeiture of the Borrower's interest in the Property or other material
impairment of the lien created by this Security Instrument or Lender’s security interest. Borrower shall also be in default if
Borrower, during the loan application process, gave materially false or inaccurate information or statements to Lender (or failed
to provide Lender with any material information) in connection with the loan evidenced by the Note, inctuding, but not limited
to, representations concerning Borrower's occupancy of the Property as a principal residence. If this Security Instrument is on a
leasehold, Borrower shall comply with all the provisions of the lease. If Borrower acquires fee title 10 the Property, the
leasehold and the fee title shall not merge untess Lender agrees to the merger in writing.

7. Protection of Lender’s Rights in the Property. If Borrower fails to perform the covenants and agreements contained in
this Security Instrument, or there ts a legal proceeding that may significantly affect Lender's rights in the Property (such as a
proceeding in bankruptcy, probate, for condemnation or forfeiture or to enforce laws or regulations), then Lender may do and
pay for whatever is necessary to protect the value of the Property and Lender’s rights in the Property. Lender's actions may
include paying any sums secured by a lien which has priority over this Security Instrument, appearing in court, paying
reasonable attorneys’ fees and entering on the Property to make repairs. Although Lender may take action under this paragraph
7, Lender does not have to do so.

Any amounts disbursed by Lender under this paragraph 7 shall become additional debt of Borrower secured by this
Security Instrument. Unless Borrower and Lender agree to other terms of payment, these amounts shall bear interest from the
date of disbursement at the Note rate and shalt be payable, with interest, upon notice from Lender to Borrower requesting

payment.

Form 3010 9/90
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Case 3:00-cv-00488-RWN Document 2 Filed 05/10/00 Page 19 of 23 PagelD 51

8. Mortgage Insurance. If Lender required mortgage insurance as a condition of making the loan secured by this Security
Instrument, Borrower shal) pay the premiums required to maintain the mortgage insurance in effect. If, for any reason, the
mortgage insurance coverage required by Lender lapses or ceases to be in effect, Borrower shall pay the premiums required to
obtain coverage substantially equivalent to the mortgage insurance previously in effect, at a cost substantially equivalent to the
cost to Borrower of the mortgage insurance previously in effect, from an alternate mortgage insurer approved by Lender. If
substantially equivalent mortgage insurance coverage is not available, Borrower shall pay to Lender each month a sum equal to
one-twelfth of the yearly mortgage insurance premium being paid by Borrower when the insurance coverage lapsed or ceased to
be in effect. Lender will accept, use and retain these payments as aloss reserve in licu of mortgage insurance. Loss reserve
payments may no longer be required, at the option of Lender, if mortgage insurance coverage (in the amount and for the period
that Lender requires) provided by an insurer approved by Lender again becomes available and is obtained. Borrower shall pay
the premiums required to maintain mortgage insurance in effect, or to provide a loss reserve, until the requirement for mortgage
insurance ends in accordance with any written agreement between Borrower and Lender or applicable law.

9. Inspection. Lender or its agent may make reasonable entries upon and inspections of the Property. Lender shall give
Borrower notice at the time of or prior to an inspection specifying reasonable cause for the inspection.

10. Condemnation. The proceeds of any award or claim for damages, direct or consequential, in connection with any
condemnation or other taking of any part of the Property, or for conveyance in lieu of condemnation, are hereby assigned and
shall be paid to Lender.

In the event of a total taking of the Property, the proceeds shall be applied to the sums secured by this Security Instrument,
whether or not then due, with any excess paid to Borrower. In the event of a partial taking of the Property in which the fair
market value of the Property immediately before the taking is equal to or greater than the amount of the sums secured by this
Security Instrument immediately before the taking, unless Borrower and Lender otherwise agree in writing, the sums secured by
this Security Instrument shall be reduced by the amount of the proceeds multiplied by the following fraction: (a) the total
amount of the sums secured immediately before the taking, divided by (b) the fair market value of the Property immediately
before the taking. Any balance shall be paid to Borrower. In the event of a partial taking of the Property in which the fair
market value of the Property immediately before the taking is less than the amount of the sums secured immediately before the
taking, unless Borrower and Lender otherwise agree ia writing or unless applicable law otherwise provides, the procecds shall
be applied to the sums secured by this Security Instrument whether or not the sums are then due.

If the Property is abandoned by Borrower, or if, after notice by Lender to Borrower that the condemnor offers to make an
award or settle a claim for damages, Borrower fails to respond to Lender within.30 days alter the date the notice is given,
Lender is authorized to collect and apply the proceeds, at its option, either to restoration or repair of the Property or to the sums
secured by this Security Instrument, whether or not then due.

Unless Lender and Borrower otherwise agree in writing, any apptication of proceeds to principal shall not extend or
postpone the due date of the monthly payments referred to in paragraphs | and 2 or change the amount of such payments.

11. Borrower Not Released; Forbearance Ry Lender Not a Waiver. Extension of the time for payment or modification
of amortization of the sums secured by this Security Instrument granted by Lender to any successor in interest of Borrower shall
not operate to release the liability of the original Borrower or Borrower's successors ia interest. Lender shail not be required to
commence proceedings against any successor in interest or refuse to extend time for payment or otherwise modify amortization
of the sums secured by this Security Instrument by reason of any demand made by the original Borrower or Borrower's
successors in interest. Any forbearance by Lender in exercising any right or remedy shall not be a waiver of or preclude the
exercise of any right or remedy.

12. Successors and Assigns Bound; Joint and Several Liability; Co-signers. The covenants and agreements of this
Security Instrument shall bind and benefit the successors and assigns of Lender and Borrower, subject to the provisions of
paragraph 17. Borrower's covenants and agreements shall be joint and several. Any Borrower who co-signs this Security
Instrument but does not execute the Note: (a) is co-signing this Security Instrument only to mortgage, grant and convey that
Borrower’s interest in the Property under the terms of this Security Instrument; (6) is not personally obligated to pay the sums
secured by this Security Instrument; and (c) agrees that Lender and any other Borrower may agree to extend, modify, forbear or
make any accommodations with regard to the terms of this Security Instrument or the Note without that' Borrower's consent.

13. Loan Charges. If the loan secured by this Security Instrument is subject to a Jaw which sets maximum loan charges,
and that law is finally interpreted so that the interest or other loan charges collected or to be collected in connection with the
loan exceed the permitted limits, then: (a) any such loan charge shall be reduced by the amount necessary to reduce the charge
to the permitted limit; and (b) any sums already collected from Borrower which exceeded pennitted limits will be refunded to
Borrower. Lender may choose to make this refund by reducing the principal owed under the Note or by making a direct
payment to Borrower. If a refund reduces principal, the reduction will be treated as a partial prepayment without any
prepayment charge under the Note.

Form 3010 9/90
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Case 3:00-cv-00488-RWN Document 2 Filed 05/10/00 Page 20 of 23 PagelD 52

14, Notices. Any notice to Borrower provided for in this Security Instrument shall be given by delivering it or by mailing
it by first class mail unless applicable law requires use of another method. The notice shal! be directed to the Property Address
or any other address Borrower designates by notice to Lender. Any notice to Lender shall be given by first class mail to
Lender's address stated herein or any other address Lender designates by notice to Borrower. Any notice provided for in this
Security Instrument shall be deemed to have been given to Borrower or Lender when given as provided in this paragraph.

15, Governing Law; Severability. This Security Instrument shall be governed by federal law and the law of the
jurisdiction in which the Property is located. In the event that any provision or clause of this Security Instrument or the Note
conflicts with applicable law, such conflict shall not affect other provisions of this Security Instrument or the Note which can be
given effect without the conflicting provision. To this end the provisions of this Security Instrument and the Note are declared
to be severable.

16. Borrower’s Copy. Borrower shall be given one conformed copy of the Note and of this Security Instrument.

17. Transfer of the Property or a Beneficial Interest in Borrower. If all or any part of the Property or any interest in it
is sold or transferred (or if a beneficial interest in Borrower is sold or transferred and Borrower is not a natural person) without
Lender's prior written consent, Lender may, at its option, require immediate payment in full of all sums secured by this
Security Instrument. However, this option shall not be exercised by Lender if exercise is prohibited by federal law as of the date
of this Security Instrument.

If Lender exercises this option, Lender shall give Borrower notice of acceleration. The notice shall provide a period of not
less than 30 days from the date the notice is delivered or mailed within which Borrower must pay all sums secured by this
Security Instrument. If Borrower fails to pay these sums prior to the expiration of this period, Lender may invoke any remedies
permitted by this Security Instrument without further notice or demand on Borrower.

18. Borrower’s Right to Reinstate. If Borrower meets certain conditions, Borrower shall have the right to have
enforcement of this Security Instrument discontinued at any time prior to the earlier of: (a) 5 days (or such other period as
applicable law may specify for reinstatement) before sale of the Property pursuant to any power of sale contained in this
Security Instrument; or (b) entry of a judgment enforcing this Security Instrument. Those conditions are that Borrower: (a) pays
Lender all sums which then would be due under this Security Instrument and the Note as if no acceleration had occurred; (b)
cures any default of any other covenants or agreements; (c) pays all expenses incurred in enforcing this Security Instrument,
including, but not limited to, reasonable attorneys’ fees; and (d) takes such action as Lender may reasonably require to assure
that the lien of this Security Instrument, Lender’s rights in the Property and Borrower’s obligation to pay the sums secured by
this Security Instrument shall continue unchanged. Upon reinstatement by Barrower, this Security Instrument and- the
obligations secured hereby shall remain fully effective as if no acceleration had occurred. However, this right to reinstate shall
not apply in the case of acceleration under paragraph 17. ,

19. Sale of Note; Change of Loan Servicer. The Note or a partial interest in the Note (together with this Security
Instrument) may be sold one or more times without prior notice to Borrower. A sale may result in a change in the entity (known
as the “Loan Servicer") that collects monthly payments due under the Note and this Security Instrument. There also may be one
or more changes of the Loan Servicer unrelated to a sale of the Note. If there is a change of the Loan Servicer, Borrower will be
given written notice of the change in accordance with paragraph [4 above and applicable law. The notice will state the name and
address of the new Loan Servicer and the address to which payments should be made. The notice will also contain any other
information required by applicable law.

20. Hazardous Substances. Borrower shall not cause or permit the presence, use, disposal, storage, or release of any
Hazardous Substances on or in the Property. Borrower shall not do, nor allow anyone else to do, anything affecting the
Property that is in violation of any Environmental Law. The preceding two sentences shall not apply to the presence, use, or
storage on the Property of small quantities of Hazardous Substances that are generally recognized to be appropriate to normal
residential uses and to maintenance of the Property. :

Borrower shall promptly give Lender written notice of any investigation, claim, demand, lawsuit or other action by any
governmental or regulatory agency or private party involving the Property and any Hazardous Substance or Environmental Law
of which Borrower has actual knowledge. If Borrower learns, ar is notified by any governmental or regulatory authority, that
any removal or other remediation of any Hazardous Substance affecting the Property is necessary, Borrower shall promptly take
all necessary remedial actions in accordance -with Environmental Law.

As used in this paragraph 20, “Hazardous Substances® are those substances defined as toxic or hazardous substances by
Environmental Law and the following substances: gasoline, kerosene, other flammable or toxic petroleum products, toxic
pesticides and herbicides, volatile solvents, materials containing asbestos or formaldehyde, and radioactive materials. As used in
this paragraph 20, “Environmental Law" means federal laws and taws of the jurisdiction where the Property is located that
relate to health, safety or environmental protection.

Form 3010 9/90
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Case 3:00-cv-00488-RWN Document 2 Filed 05/10/00 Page 21 of 23 PagelD 53

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NON-UNIFORM COVENANTS. Borrower and Lender further covenant and agree as follows:

21. Acceleration; Remedies. Lender shall give notice to Borrower prior to acceleration following Borrower's breach
of any covenant or agreement in this Security Instrument (but not prior to acceleration under paragraph 17 unless
applicable law provides otherwise). The notice shall specify: (a) the default; (b) the action required to cure the default;
{c) a date, not Jess than 30 days from the date the notice is given to Borrower, by which the default must be cured; and
(d) that failure to cure the default on or before the date specified in the notice may result in acceleration of the sums
secured by this Security Instrument, foreclosure by judicial proceeding and sale of the Property. The notice shall further
inform Borrower of the right to reinstate after acceleration and the right to assert in the foreclosure proceeding the
non-existence of a default or any other defense of Borrower to acceleration and foreclosure. If the default is not cured on
or before the date specified in the notice, Lender, at its option, may require immediate payment in full of all sums
secured by this Security Instrument without further demand and may foreclose this Security Instrument by judicial
proceeding. Lender shall be entitled to collect all expenses incurred in pursuing the remedies provided in this paragraph
21, including, but not limited to, reasonable attorneys’ fees and costs of title evidence.

22. Release. Upon payment of all sums secured by this Security Instrument, Lender shall release this Security Instrument
without charge to Borrower. Borrower shall pay any recordation costs.

23. Attorneys’ Fees. As used in this Security Instrument and the Note, “attorneys’ fees" shall include any attorneys’ fees
awarded by an appellate court. .

24. Riders to this Security Instrument. If one or more riders are executed by Borrower and recorded together with this
Security Instrument, the covenants and agreements of each such rider shall be incorporated into and shall amend and supplement
the covenants and agreements of this Security Instrument as if the rider(s) were a part of this Security Instrument.

(Check applicable box(es)}

J Adjustable Rate Rider (_] Condominium Rider (_} 1-4 Family Rider
Graduated Payment Rider (X} Planned Unit Development Rider C Biweekly Payment Rider
Balloon Rider L_} Rate Improvement Rider [_] Second Home Rider
VA Rider {_] Other(s) {specify}

‘

s
BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained in this Security Instrument and
in any rider(s) executed by Borrower and recorded with it.
Signed, sealed and delivered in the presence of:

 

 

 

 

 

 

 

(Seal)
DANIEL M JOUBERT -Borrower
(Seal)
-Borrower
(Seal) . (Seal)
-Borrower -Borrower
STATE OF FLORIDA, DUVAL County ss:
The foregoing instrament was acknowledged before me this December 31, 1998 by
DANIEL M JOUBERT
who is personally known to me or who has produced as identification.
Noury Public
@, “BVIFL} 19309}.03 Page 6 of 6 Form 3010 9/90
Case 3:00-cv-00488-RWN Document 2 Filed OS/LOLOP page 22 of 23 PagelD 54

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AP# 60JOUBERT. DAN LN# 121229

NOTICE: THIS LOAN is NOT ASSUMABLE WITHOUT THE
APPROVAL OF THE DEPARTMENT OF VETERANS AFFAIRS
OR ITS AUTHORIZED AGENT.

December 31, 1998 WINTER PARK . Florida

[Date} (City) [State)

12622 ASH HARBOR DRIVE JACKSONVILLE FL 32224

(Property Address]
1. BORROWER’S PROMISE TO PAY
In return for a Joan that J have received, 1 promise to pay U.S. $ 118,473.00 (this amount is called
“principal"), plus interest, to the order of the Lender. The Lender is
MAJESTIC MORTGAGE INC
. [understand

that the Lender may transfer this Note. The Lender or anyone who takes this Note by transfer and who is entitled to receive
payments under this Note is called the “Note Holder."

2. INTEREST
Interest will be charged on unpaid principal until the full amount of principal has been paid. [ will pay interest at a yearly
rate of 7.0000 %,

The interest rate required by this Section 2 is the rate I will pay both before and after any default described in Section 6(B)
of this Note.

3. PAYMENTS

{A) Time and Place of Payments

I will pay principal and interest by making payments every month.

I will make my monthly payments on the 1st ‘day of each month beginning on February 1 ;

1999 . I will make these payments every month until | have paid all of the principal and interest and any other charges
described below that I may owe under this Note. My monthly payments will be applied to interest before principal. If, on

January 1, 2029 , I still owe amounts under this Note, [ will pay those amounts in full on that date,
which is called the "Maturity Date." .

I will make my monthly payments at 2699 LEE ROAD. SUITE 101. WINTER PARK. FL 32789
or at a different place if required by the Note Holder.
(B) Amount of Monthly Payments a’

My monthly payment will be in the amount of U.S. $ 788.20
4. BORROWER'S RIGHT TO PREPAY

I have the right to make payments of principal at any time before they are due. A payment of principal only is known as a
“prepayment.” When I make a prepayment, I will tell the Note Holder in writing that | am doing so.

I may make a full prepayment or partial prepayments without paying any prepayment charge. The Note Holder will use all
of my prepayments to reduce the amount of principal that ! owe under this Note. If | make a partial prepayment, there will be
no changes in the due date or in the amount of my monthly payment unless the Note Holder agrees in writing to those changes.
5. LOAN CHARGES

If a law, which applies to this loan and which sets maximum loan charges, is finally interpreted so that the interest or
other loan charges collected or to be collected in connection with this loan exceed the permitted limits, then: (i) any such foan
charge shall be reduced by the amount necessary to reduce the charge to the permitted limit; and (ii) any sums already collected
from me which exceeded permitted limits will be refunded to me. The Note Holder may choose to make this refund by
reducing the principal I owe under this Note or by making a direct payment to me. If a refund reduces principal, the reduction
will be treated as a partial prepayment.

6. BORROWER’S FAILURE TO PAY AS REQUIRED

(A) Late Charge for Overdue Payments

If the Note Holder has not received the full amount of any monthly payment by the end of 15 calendar days after
the date it is due, I will pay a late charge to the Note Holder. The amount of the charge will be 4.0000 % of
my overdue payment. I will pay this late charge promptly but only once on each late payment.

FLORIDA FIXED RATE NOTE - Single Family - Fannie Mae/Freddie Mac Uniform instrument
Form 3200.10 12/83

D, -SVIFL) 19810) Amended 10/96
VP MORTGAGE FORMS - (600)621-7291
Paget of2 Mw 1098 je:

 
Case 3:00-cv-00488-RWN Document2 Filed 05/10/00 Page 23 of 23 PagelD 55

* (B) Default
If Ido not pay the full amount of each monthly payment on the date it is due, I will be in default.
(C) Notice of Default
If I am in default, the Note Holder may send me a written notice telling me that if [ do not pay the overdue amount by a
certain date, the Note Holder may require me to pay immediately the full amount of principal which has not been paid and all
the interest that I owe on that amount. That date must be at least 30 days after the date on which the notice is delivered or
mailed to me.
(D) No Waiver by Note Holder
Even if, at a time when I am in default, the Note Holder does not require me to pay immediately in full as described
above, the Note Holder will still have the right to do so if am in default a¢ a Jater time.
(E) Payment of Note Holder’s Costs and Expenses
If the Note Holder has required me to pay immediately in full as described above, the Note Holder wil! have the right to
be paid back by me for all of its costs and expenses in enforcing this Note to the extent not prohibited by applicable law. Those
expenses include, for example, reasonable attorneys’ fees.

7. GIVING OF NOTICES

Unless applicable law requires a different method, any notice that must be given to me under this Note will be given by
delivering it or by mailing it by first class mail to me at the Property Address above or at a different address if I give the Note
Holder a notice of my different address.

Any notice that must be given to the Note Holder under this Note will be given by mailing it by first class mail to the
Note Holder at the address stated in Section 3(A) above or at a different address if I am given a notice of that different address.

8. OBLIGATIONS OF PERSONS UNDER THIS NOTE

If more than one person signs this Note, each person is fully and personally obligated to keep all of the promises made in
this Note, including the promise to pay the full amount owed. Any person who is a guarantor, surety or endorser of this Note is
also obligated to do these things. Any person who takes over these obligations, including the obligations of a guarantor, surety
or endorser of this Note, is also obligated to keep all of the promises made in this Note. The Note Holder may enforce its
rights under this Note against each person individually or against all of us together. This means that any one of us may be
required to pay all of the amounts owed under this Note.

9. WAIVERS

T and any other person who has obligations under this Note waive the rights of presentment and notice of dishonor.
“Presentment” means the right to require the Note Holder to demand payment of amounts due. “Notice of dishonor* means the
tight to require the Note Holder to give notice to other persons that amounts due have not been paid.

10. ALLONGE TO THIS NOTE

If an allonge providing for payment adjustments or for any other supplemental information is executed by the Borrower
together with this Note, the covenants of the allonge shail be incorporated into and shall amend and supplement the covenants of
this Note as if the allonge were a part of this Note. {Check applicable box]

("] Graduated Payment Allonge (J other {Specify} . (_} other {Specify}

*

11, DOCUMENTARY TAX at
The state documentary tax due on this Note has been paid on the Mortgage securing this indebtedness.

12, UNIFORM SECURED NOTE

This Note is a uniform instrument with limited variations in some jurisdictions. In addition to the protections given to the
Note Holder under this Note, a Mortgage, Deed of Trust or Security Deed (the “Security Instrument"), dated the same date as
this Note, protects the Note Holder from possible losses which might result if I do not keep the promises which | make in this
Note. That Security Instrument describes how and under what conditions | may be required 10 make invmediate payment in full
of all amounts [ owe under this Note. Some of those conditions are described as follows:

Regulations (38 C.F.R. Part 36) issued under the Deparment of Veterans Affairs ("VA") Guaranteed Loan
Authority (38 U.S.C. Chapter 37) and in effect on the date of loan closing shall govern the rights, duties and
liabilities of the parties to this loan and any provisions of this Note which are inconsistent with such regulations
are hereby amended and supplemented to conform thereto.

WITNESS THE HAND(S) AND SEAL(S) OF THE UNDERSIGNED.

 

 

 

 

(Seal) (Seal)
-Borrower DANTEL M JOUBERT ~Borrower

SSN: SSN: XXX-XX-XXXX
(Seal) (Seal)
-Borrower -Bocrower
SSN: SSN: {Sign Original Only]
&D, -BV(FLI (98101 Page 2 of 2 Form 3200.10 12/83
